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                              Exhibit 10
        State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                          Abbott Laboratories, Inc., et al.

             Exhibit to the Declaration of Nicholas N. Paul in Support of
 Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                     )
 AVERAGE WHOLESALE PRICE                            )
 LITIGATION                                         )
                                                    )
                                                    )   MDL No. 1456
 THIS DOCUMENT RELATES TO:                          )   Civil Action No. 01-12257-PBS
                                                    )   Subcategory Case No. 03-10643-PBS
 City of New York, et al.                           )
                                                    )   Hon. Patti B. Saris
 v.                                                 )
                                                    )
 Abbott Laboratories, et al.                        )



                            DECLARATION OF DONA M. COFFMAN

       I, Dona M. Coffman, declare as follows:

       1.      I am the Technical Director/Senior Information Technology Specialist in the

Division of Information Analysis & Technical Assistance, within the Centers for Medicare and

Medicaid Services (“CMS”) of the Department of Health and Human Services.       The Division of

Information Analysis & Technical Assistance is a unit within the Finance, Systems and Budget

Group, which, in turn, is within the Center for Medicaid and State Operations (“CMSO”), part of

CMS. I have been a federal employee since 1995 and have held my current position since 1999.

My responsibilities include managing all aspects of the automated support systems for the

Medicaid program operated by CMS in Baltimore, Maryland, including system development,

security, and contractor support. From 1991 to 1995, I was employed by a contractor for CMS

providing information technology support to CMSO including development and implementation

of the Medicaid Drug Rebate database. When I became a CMS employee in 1995, my


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responsibilities included the FULs System used to support the CMS Federal Upper Limit (“FUL”)

program, as more fully described below. Except to the extent specifically indicated, I have

personal knowledge of the matters stated herein. In instances where I lack personal knowledge,

my knowledge is based on my review of official documents of CMS and discussions with CMS

employees and contractors.

       2.      In this declaration I describe the computerized systems used by CMS in connection

with the establishment of federal upper limits (“FULs”).

       Overview of the CMS FULs System

       3.      Since at least 1993, CMS has used computerized systems to assist in setting FULs.1

The technologies used in these systems have become more sophisticated over time, but their basic

logic has not changed significantly.

       4.      Since the early 1990s, the CMS has used an application housed in a CMS

mainframe computer, referred to as the FULs System, to periodically receive and process data for

use in setting FULs. As explained in more detail below, data is obtained primarily from two

sources: the U.S. Food and Drug Administration’s (“FDA’s”) publication entitled, Approved Drug

Products With Therapeutic Equivalence Evaluations (commonly known as the Orange Book), and

the national price compendia (First DataBank’s Bluebook, the Red Book, and Medi-Span). In

addition, the FULs System receives labeler code information from the CMS Medicaid Drug

Rebate (“MDR”) database, which contains information reported by manufacturers pursuant to the

Medicaid Rebate program. The FULs System reads the above-mentioned data and processes it



1
   My knowledge of CMS’s practice before 1995 is based on discussions with other CMS
personnel and contractor employees.

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according to certain criteria. CMS sometimes refers to this periodic receipt and processing of

data as a “cycle.”

       5.      The FULs System maintains or assigns a CMS Product Group number for each

group of drug products that share the same active ingredient, strength, dosage form, and route of

administration. Once a particular drug product is assigned to a Product Group, that assignment

will generally not change.

       6.      In 1993, CMS developed a FULs application to assist the person charged with

establishing the FULs (“FUL Analyst”). The FULs application is a program that provides the

FUL Analyst an online interface with the FULs data. Today the online interface allows the FUL

Analyst to update the FULs price, reassign drug products to Product Groups, generate reports, and

perform other functions through drop-down menu items.

       7.      The receipt and processing of data by the FULs System is done periodically at the

request of the FUL Analyst. In the last year or so the cycle has been approximately every other

month. In prior years the cycle was run quarterly or less frequently. Upon completion of the

processing cycle, an updated database is available for use. The FUL Analyst accesses the FULs

System through the Citrix Independent Computing Architecture client software. Attachment A to

this declaration generally describes the criteria followed by the FULs System in processing data

from the FDA and the Compendia and in calculating a preliminary FUL. Attachment B, entitled

“FULs Processing Logic,” is a more detailed description of the programming logic of the FULs

System.




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        FDA Orange Book Data

        8.     The FDA Orange Book data received by the FULs System consists of the following

data fields:

        Ingredient: The active ingredient(s) for the product. Multiple ingredients are in
        alphabetical order separated by a semicolon.

        Dosage form; Route of Administration: The product dosage form and route of
        administration.

        Trade Name: The trade name of the product as shown on the labeling.

        Applicant: The firm name holding legal responsibility for the new drug application.

        Strength: The potency of the active ingredient.

        New Drug Application (NDA) Number: The FDA assigned number to the application.

        Product Number: The FDA assigned number to identify the application products. Each
        strength is a separate product.

        Therapeutic Equivalence (TE) Code: The TE Code indicates the therapeutic equivalence
        rating of generic to innovator Rx products.

        Approval Date: The date the product was approved as stated in the FDA approval letter to
        the applicant. Products approved prior to the January 1, 1982 contain the phrase:
        "Approved prior to Jan 1, 1982."

        Reference Listed Drug (RLD): The pioneer or innovator of the drug. The RLD identifies
        the product Abbreviated New Drug Applications (ANDA) use as a reference. Although
        the FULs System receives this data, it does not actually use it.

        Type: The group or category of approved drugs. The FULs System does not use this
        data.

        Applicant Full Name: The full name of the firm holding legal responsibility for the new
        drug application.

When the FULs System receives this data, it employs processing logic that excludes drugs from

the working database if they are not rated either “A” or “B” by FDA. In addition, drug products


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will only be included in the FULs System if, for the same ingredients, strengths, dosage form, and

route of administration, there are (a) more than two A-rated drug products (with no limit on the

B-rated products), or (b) two A-rated products and no B-rated products.

       9.      The Orange Book data is inserted into the FULs System database to ensure it

includes any new drug products in the appropriate Product Groups and to exclude any drug

products that have lost their FDA approval. To do this, on a drug by drug basis, the FULs System

first attempts to match the FDA data against the FULs System database using a number consisting

of the New Drug Application (“NDA”) number and the FDA product number. If there is no

match according to the NDA/product number, the System then attempts to matches the active

ingredient, strength, dosage form, and route of administration, so that the appropriate FULs

System Product Group is maintained or established. If the NDA/product number, or the drug

characteristics (active ingredient, strength, dosage form, and route of administration), exactly

match the corresponding information in a CMS FULs System Product Group, then the FULs

System updates its database to include any new information (assuming the data is encompassed

within the requested data fields). If the foregoing FDA Orange Book data does not exactly match

that of an existing CMS FULs System Product Group, then a new Product Group is created in the

FULs System and the pertinent Orange Book data is saved.

       10.     The FULs System does not use the First DataBank grouping system, which groups

drugs by a “Generic Code Number” (“GCN”); nor does it use the Medi-Span Generic Product

Identifier (“GPI”). CMS uses its own grouping system as described above. I do not know

enough about the GCN or GPI grouping systems to say whether or to what extent either is similar

to the CMS grouping system.


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       MDR Database

       11.     The FULs System also receives limited information from CMS’s Medicaid Drug

Rebate (“MDR”) database. The MDR is a separate database that contains data reported by drug

manufacturers pursuant to the Medicaid Rebate program, including whether a labeler has an

effective Rebate Agreement with the Secretary of Health and Human Services. For each drug

product, the FULs System compares the labeler code (the first five digits of the NDC) received

from First DataBank, Medi-Span, and Red Book (the “Compendia”) against the MDR list of

labelers with effective Rebate Agreements. If the labeler does not have a Rebate Agreement in

effect, then the NDC and associated product is excluded. This means that NDCs of a

manufacturer who has not entered into a Rebate Agreement with the Secretary of Health and

Human Services, or whose Rebate Agreement has been terminated, or is otherwise not in effect,

will not be considered in setting a FUL. This ensures that only drug products eligible for

participation in the Medicaid program are considered in establishing FULs.

       12.     Average manufacturer price information from the MDR is not used in the FULs

System; therefore the FULs application does not provide this MDR data to the system user.

       13.     In August 2009 an extract of data from the MDR database was prepared and

provided to state Medicaid agencies via an electronic file named “Labeler Agreements.txt.” This

file consists of information identifying the labeler codes and associated companies having

effective Rebate Agreements in place with the Secretary of Health and Human Services, including

termination dates. The file was given to state Medicaid agencies to assist them in updating or

validating the termination information in their State’s Medicaid drug rebate systems. I


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understand that an Excel spreadsheet version of this file is being provided to counsel for the

plaintiffs and lead counsel for the defendants in this case.

        Compendia Data

        14.     The FULs System receives data from three publishers -- First DataBank’s Blue

Book, the Red Book, and Medi-Span (the “Compendia”). Roughly 25 fields of data are received

from each source. A listing of the data fields received from each publisher is given in Attachment

C to this declaration.2 The Compendia data is first electronically received and processed. Then

it is merged and reformatted before being matched against existing FULs System database records.

The processing logic of these steps is shown in Attachment B. For present purposes, two steps are

important to note. First, if an NDC is designated in the Medi-Span data as inactive (having a field

code “I”) or deleted (code “D”), then the record is placed on an “Inactive List” in the FULs System

database. Similarly, if the NDC is designated in the Bluebook data as being obsolete, either in the

past or within the next six months following the date the data is processed, then the record is placed

on the “Inactive List.” Drugs on the Inactive List are excluded from consideration in setting

FULs because CMS has determined that it should not set FULs on the basis of prices of drugs that

are, or soon will be no longer sold in the market. Second, a “Unit-Dose list” is created using the

unit dose indicator fields in the Compendia data. If two out of the three Compendia specify that

the NDC is a unit dose form of the drug, the NDC is excluded from consideration in setting FULs.3

        15.     Once the Compendia data is processed as described above, the data is matched

against the existing FULs System database in order to update the database records. The FULs

System does this through a series of matching steps designed to locate and update the existing

2
  It should be noted that the data received from MediSpan does not include WAC price data.
3
  This has been the case since I assume responsibility for the FULs System in 1995. I assume this practice was
followed before then, although I do not have personal knowledge of that.
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record in the database for the same NDC, or, if the NDC from the Compendia data does not exist in

the FULs System database (e.g., because the NDC is new), to add the new NDC and associated

information to the proper Product Group. The matching logic is sequential. First, a match is

attempted using the NDC. Second, a match is attempted using the Medi-Span GPI or First

DataBank GCN. Third, a match is attempted by using an exact match of the ingredient, strength,

dosage form, and route of administration. Fourth, a “fuzzy” match is attempted using a program

that compares certain nomenclature derivations of the ingredient, strength, dosage form, and route

of administration. A NDC may not match, even though it belongs in a Product Group, for a

variety of reasons, including typographical errors or differences in the nomenclature used by the

Compendia. If there is a match, the FULs System database will be updated with the new

information. If there is no match, the record from the Compendia data will be designated to an

“un-matched” table. The FUL Analyst has the ability to designate an un-matched product to a

Group Number, and to reassign a product to another group where the original Group number is

incorrect.

       FULs System Preliminary Determination of FUL Price

       16.     Once the data processing described above is completed, the FULs System

organizes the pricing data for the system user and calculates a preliminary FUL for each distinct

package size. The pricing data is organized from high to low. The FUL is the product of the

lowest price of an A-rated NDCs within the Product Group number times 1.5. The preliminary

FUL calculation is based on the lowest published price. Therefore, the FUL Analyst is

responsible for ensuring that the FUL is based on a product sold in quantities of 100 tablets or




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capsules, or, if the drug is not commonly available in quantities of 100, in the package size

commonly listed.

       17.     As mentioned above, the interface that the FULs System provides the FUL Analyst

allows the analyst to make certain changes to the database. The analyst can override the

automatic calculation of the FUL and insert a different FUL. The analyst can also assign a

particular NDC to a Product Group or remove an NDC from a Product Group. The FULs

application also allows the analyst to assign one of two exclusion codes to an NDC. A “T”

exclusion code indicates the NDC is temporarily excluded from consideration in calculating a

FUL; a “P” exclusion code is used to permanently exclude the NDC from consideration. When

an exclusion code is applied, the FULs System continues to retain and update the data, but the

price is ignored in the preliminary FUL calculation.

       PC FULs

       18.   The “PC FULs” is a desktop tool designed to store, for record-keeping purposes, data

from the FULs System. A snapshot of the FULs system database as it exists is created (via a

mainframe batch job) and then imported into “PC FULs” before the beginning of a new FULs

cycle. The use of this application began December 31, 2001. It is imperfect as a record -keeping

system because the data that is stored does not necessarily include all of the determinations made

by the FULs analyst. If the FULs analyst establishes a FUL other than the one that is

automatically calculated by the System but fails to input the new FUL into the System, the PC

FULs data would show only the FUL that was automatically calculated and would not show the

FUL that was determined by the analyst and published by CMS. I understand that there was a

period of time starting late 2004 when this occurred. Similarly, if the FULs analyst determined


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that a particular product should be excluded, but failed to add the appropriate exclusion code in the

FULs system, the PC FULs data would not reflect this exclusion. However, in general the PC

FULs database provides a reasonably accurate picture of the pricing data available to the analyst

when the FUL was determined.

       Historic Versions of the FULs System

       19.     In 1993, CMS undertook to automate the FULs process through a series of

statistical analysis software programs in a Model 204 database management system. Data was

housed in a mainframe computer. The process entailed capturing FDA and Compendia data and

using algorithms to sort the data and calculate a preliminary FUL. The processing algorithms

followed the same overall logic described above. However, the matching processes described

above were not as sophisticated, and the task of assigning NDCs to particular Product Groups

entailed considerably more manual review as compared to the more automated system put into

place in 1999. In addition, prior to 1999 the features of the on-line interface were limited. The

FULs Analyst typically received paper printouts of pricing data from the FULs System to use in

conducting the manual review of prospective FULs.

       20.     Commencing in 1998, the FULs application was rewritten to operate on a Windows

platform with Visual Basic (front-end), and DB2 as the database. Modified Statistical Analysis

Software (SAS) and new COmmon Business Oriented Language (COBOL) programs replaced the

Model 204/SAS batch programs. These improvements were completed in 1999. The logic of

the original system was maintained. The new system has enhanced system functionality through

the graphical user interface and has enabled simpler debugging and tracking mechanisms. The




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FULs application was improved to enable the user to update the FULs prices, reassign NDC codes,

generate reports, and perform other functions through drop-down menu items.

       Analysis of FULs System Database

       21.     In connection with the preparation of a Second Declaration of Susan E. Gaston, a

request was made to my office for assistance in extracting information from the FULs System that

might explain whether certain NDCs were excluded from the output of the database and the reason

for the exclusion. Under my supervision, a contractor/analysis of the FULs System data and the

PCFULs database was undertaken with respect to a list of NDCs provided by the U.S. Attorney’s

Office. A spreadsheet file was prepared containing the results of this analysis, having the file

name “DOJ NDC list - FULS Info 10302009.xlsx.” The analysis was based on current, not

historical compendia files.   The spreadsheet file has been provided to Ms. Gaston. I understand

that this spreadsheet file is also being provided to the parties to this case. To assist them, I provide

below an explanation of each column in the spreadsheet.

       a. Mgr, NDC and Drug columns - this information consists of the information from the
       file supplied by the U.S. Attorney’s office identifying the NDCs of interest.

       b. Unit Dose - this column indicates whether the NDC was excluded during processing
       because it was identified as a unit dose product. If two of the three compendia designate
       the NDC as a Unit Dose product, then the NDC is excluded. (NOTE: an “X” is changed
       to a “1”; “U” is changed to a zero.)

       c. Currently Unmatched - Each NDC was checked to see if it was on the FULs
       “unmatched list.” Three NDCs were identified as being on this list.

       d. FDB Obsolete Dt - Using our current First Data Bank file (10/14/2009 is the date of
       the file used for this analysis), we determined whether the NDC had an obsolete date. If it
       was not obsolete (indicated in column as N/A), we then tried to identify within the current
       FULs database which Group number it is located under. If the NDC had an obsolete
       date, the date is listed. If the date is red, that indicates that the obsolete date is prior to the
       PCFULs database and we could not perform any further analysis. First FULs cycle of data
       in PCFULs is 12/31/2001.

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 FDA Criteria
       Discontinued flag must not be set


 Compendia Criteria
       Must be active drug (in Compendia)
       Must be active drug (in MDR)
       Drug must be manufactured by active labeler within MDR.
       Match Criteria as follows
          o Check to see if NDC was matched to a group from a prior cycle for this
             compendia source (Bluebook, redbook or Medispan). If so, select that
             Product Group number for this cycle also.
          o If Product is from Bluebook or Redbook, try to find the same NDC under
             Medispan (Source Code=”M”). If that NDC was matched using
             Medispan, use the same product group for this NDC for this source.
          o If not found then try an exact match on Ingredients, Strengths, Dosage
             form, and route of administration.
          o If still no group found, try a pattern match.
          o If still no group found, try a fuzzy match.
          o Finally, after all avenues are tried, if no match is found then place the
             record on the unmatched table.
          o Otherwise, insert or update the FULS Product Price table with the updated
             compendia information.


 Price Computation Criteria
          o Ignore any records where the exclusion code is set to P or H
          o Perform following checks on each NDC with in each product Group:
                  If Direct Price > 0 and less than the lowest price found and the
                    TEC Code does not begin with “B” then select price as lowest
                    price.
                  Next check WAC Price. If WAC Price < lowest price found so far
                    and the TEC Code does not begin with “B”, then select WAC Price
                    as lowest price.
                  If AWP is > 0 and less than lowest price found and TEC Code
                    does not begin with “B”, then select AWP as the lowest price.
                  Count each distinct NDC1 to get a total number of drug
                    manufacturers
          o If lowest price found was B-Rated and there were not any A rated, B-
            Rated Switch is set = “2”. However, if there was another A-Rated drug
            but the B-Rated was the lowest price, the B-Rated switch is set to 1. If the
            lowest price found was A-Rated, then the B-Rated switch is set to 0.
          o Price not computed and considered aberrant under following conditions:
                  Less than 3 drug manufactures (distinct NDC1s)
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                   There is not at least one NDC from a drug manufacturer other than
                    the manufacturer of the NDC selected for computation of the
                    FULS Price whereby the lowest price is less than the computed
                    FULS Price.
                   The computed FULS Price must be less than the highest price
                    found
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                     Attachment B
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                                           FULs Processing Logic
FDA Processing Steps

Read Input files

1)     If the first character of the Tec Codes is not equal to an “A” or “B” then exclude
2)     If the RX/OTC field is equal to “discn” then exclude
3)     For the same ingredients, strengths, dosage form, and route of administration, there
       must be (more than 2 “A” Tec Codes with no limit on “B” Tec Codes – or – 2 “A”
       codes and no “B” Tec Codes) – if this condition is not met, then load the FDA record and
       set the exclusion code to be equal to “X”

Update/Insert FDA Records into Database

1)     Reset all “T” exclusion codes to blank
2)     Match against database using NDA Number – or -
3)     Match exactly on Ingredients, Strengths, Dosage Form, and Route of Administration
4)     If there is not an exact match, then Insert a new FDA Group


Compendia Processing Steps

Read Medi-span file

1)     Retrieve the Labeler Termination Date
2)     If the Medi-span “Action Code” is equal to “I” or “D” – or – the Labeler has been terminated, then place
       the record on the In-active List
3)     Only include Medi-span records where the NDC1 code is present in the MDRI Labeler table

Read Bluebook file

1)     If the Labeler is terminated and the Bluebook Obsolete Date is present then
       A)       Add 6 months to Today’s date
       B)       If the Obsolete Date is less than A), then place record on the In-active List
2)     If the Labeler is terminated then place record on the In-active list
3)     If the Obsolete Date is present, and the date is less than A), then place record on the In-active list
4)     Only include Bluebook records where the NDC1 code is present in the MDRI Labeler table
5)     Merge together Medi-span’s and Bluebook’s Inactive lists

Read Redbook file

1)     Only include Redbook records where the NDC1 code is present in the MDRI Labeler table


Screen all Compendia Files

1)     Retrieve GPI records from Ful_prod_price (compendia) DB2 table




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                                          FULs Processing Logic
2)      Merge together Bluebook (B), Medi-span (M), and Redbook (R) files (create Unit-Dose list)

        A)      If there is a Bluebook, Medi-span, and Redbook record merged together, then

                If ((B) = “1” and (M) = “X”) or
                   ((B) = “1” and (R) = “1”) or
                   ((M) = “X” and (R) = “1”) then place on Unit-Dose list

        B)      If there is a (B) and (M) merged together, then

                If (B) = “1” or (M) = “X” then place on Unit-Dose list

        C)      If there is a (B) and (R) merged together, then

                If (B) = “1” or (R) = “1” then place on Unit-Dose list

        D)      If there is a (M) and (R) merged together, then

                If (M) = “X” or (R) = “1” then place on Unit-Dose list

3)      Merge together the In-active and Unit-dose Lists (represents all compendia records that should be excluded
        from further processing

4)      Merge ALL Medi-span records with 3), and exclude any matches

5)      Merge ALL Bluebook records with 3), and exclude any matches

6)      Place GPI/Group numbers onto the incoming Bluebook and Medi-span records

7)      Merge Bluebook/Medi-span (active) records (this is the list of valid NDC numbers)

8)      Exclude Redbook records not on the list in 7)

9)      Produce 3 reports detailing Bluebook, Medi-span, and Redbook records with NDC Numbers not
        in the MDRI Product table

10)     Write to sequential files, Bluebook, Redbook, and Medi-span (active) records


Reformat Compendia Records

Note:   This process will attempt to improve the matching of Ingredients, Strengths, Dosage Form, and Route of
        Administration between FDA and Compendia records

1)      Replace select ingredient names with common names on the FDA file, e.g. HCTZ is
        replaced with HYDROCHLORIDE
2)      Add Unit of Measure to Bluebook Strengths – if required, e.g. 5-10mg would be translated to 5mg/10mg
3)      Check if Dosage Form and Route of Administration are in the FULs Lookup tables, if not then flag them
        as unknown




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                                       FULs Processing Logic
Add/Update Compendia Records

1)    Reset all “T” exclusion codes to blank
2)    Match against existing database records
      A)     By NDC Number and Source
      B)     Match against Medi-span records using NDC Number (If Bluebook or Redbook)
      C)     Try to match on GPI Codes assigned to a particular group by previous FULs’ executions
      D)     Try exact match on Ingredients, Strengths, Dosage Form, and Route of Administration
      E)     Try pattern match on Ingredients, Strengths, Dosage Form, and Route of Administration
             (1)     Exact strength match
             (2)     Similar Ingredient (“Acetamino” would match “Acetaminophen”)
             (3)     Similar Dosage Form
             (4)     Similar Route of Administration
      F)     Try fuzzy match on Ingredients, Strengths, Dosage Form, and Route of Administration
             (1)     Exact Ingredient match
             (2)     Similar Strength (“10mg” would match “5mg-10mg-15mg”)
             (3)     Similar Dosage Form
             (4)     Similar Route of Administration

      Note: If there is a match, then insert/update FUL_Prod_Price and FUL_Prod_Package tables

3)    If there is not a match, then write Compendia record to Un-matched table


Determine FULs Price

1)    Loop on All FDA Records

2)             If Exclusion Code = “X” then
                       Add 1 to “X Code” variable
               Else
                       IF Exclusion Code = “P” then
                              Add 1 to “P Code #1” variable
                       Else
                              Add 1 to “Normal #1” variable
                       End If

3)                    Loop on All Package Size Records (matching FDA Group Number)

                              If Exclusion Code = “P” then
                                     Add 1 to “P Code #2” variable
                              Else
                                     Add 1 to “Normal #2” variable
                              End If

4)                            Loop on All Compendia Records (matching FDA Group Number and
                                    Compendia Package Size)




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                               FULs Processing Logic
                              If Exclusion Code = “P” or “H” then
                                     Add 1 to “P Code #3” variable
                              Else
                                     Add 1 to “Normal #3” variable
                              End If

                              Initialize (Low) to 99999 – (High) to 0

      A)                      Check Direct Price
                              (1)   If Direct Price Lower than (Low) then
                                    (Low) = Direct Price
                              (2)   If Direct Price Higher than (High) then
                                    (High) = Direct Price

      B)                      Check WAC Price
                              (1)   If WAC Price Lower than (Low) then
                                    (Low) = WAC Price
                              (2)   If WAC Price Higher than (High) then
                                    (High) = WAC Price

      C)                      Check AWP Price
                              (1)   If AWP Price Lower than (Low) then
                                    (Low) = AWP Price
                              (2)   If AWP Price Higher than (High) then
                                    (High) = AWP Price

      D)                      FULs Price = (Low) * 1.5

      E)                      If Exclusion Code = “P” or “H” then
                                     Set FULs Price = 0
                              End If

      F)                      If Lowest A Rated <= Lowest B Rated
                                     Set B-Rated Switch = 0
                              Else
                                     If there are no A-Rated drugs
                                             Set B-Rated Switch = 2
                                     Else
                                             Set B-Rated Switch = 1
                                     End If
                              End If


      G)                      If (# of Unique NDC1’s = 3) then
                                       Set “manufacturer3” = 1
                              End If



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                                    FULs Processing Logic
      H)                          If Fuls Price > (High) then
                                          Set Aberrant = 2
                                  End If


      I)                          If another NDC1 does not have a Price lower than the
                                          Fuls Price (excluding the manufacturer used to
                                          get the (Low) price associated with the Fuls price) then
                                          Set Aberrant = 3
                                  End If

      H)                          Update/Insert DB2 Payment table

5)                          End Loop (Compendia Records)

6)                   End Loop (Package Size Records)

7)             End If (Non’”X” FDA Exclusion Codes)

8)    End Loop (FDA Records)




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                     Attachment C
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Drug Compendia Fields Used in Federal Upper Limits (FULs)

                                                           Blue

      Record
      Type        Data Element Name                      Start    End   Length   PIC Clause      Packed
      N/A         NDC1                                      1       5        5       X(5)

      N/A         NDC2                                      6       9        4       X(4)

      N/A         NDC3                                     10      11        2       X(2)

      N/A         AWP Current Unit Price                   12      22       11     9(6)v9(5)

      N/A         AWP Effective Date                       23      30        8 9(8) (CCYYMMDD)

      N/A         AWP Previous Unit Price                  31      41       11     9(6)v9(5)

      N/A         AWP Previous Effective Date              42      49        8 9(8) (CCYYMMDD)

      N/A         Dosage Form                              71      80       10      X(10)

      N/A         Generic Code Number (GPI)               101     105        5       X(5)

      N/A         Generic Indicator                       109     109        1        X

      N/A         USAN Generic Name (Ing)                 110     139       30      X(30)

      N/A         Direct Unit Price                       140     150       11     9(6)v9(5)

      N/A         Direct Price Current Effective Date     151     158        8 9(8) (CCYYMMDD)

      N/A         Direct Unit Price - Previous            159     169       11     9(6)v9(5)

      N/A         Direct Price Previous Effective Date    170     177        8 9(8) (CCYYMMDD)

      N/A         Label Name (FDA Name)                   204     233       30      X(30)

      N/A         Orange Book Code (TEC)                  250     251        2       X(2)

      N/A         Obsolete Date                           252     259        8 9(8) (CCYYMMDD)

      N/A         Package Size                            282     292       11     9(8)v9(3)

      N/A         Route Description                       305     314       10      X(10)

      N/A         Strength Description                    316     325       10      X(10)

      N/A         Unit Dose Indicator                     352     352        1       X(1)

      N/A         WAC Unit Price                          353     363       11     9(6)v9(5)

      N/A         WAC Price Effective Date                364     371        8 9(8) (CCYYMMDD)

      N/A         WAC Price - Previous                    372     382       11     9(6)v9(5)

      N/A         WAC Price Previous Effective Date       383     390        8 9(8) (CCYYMMDD)




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Drug Compendia Fields Used in Federal Upper Limits (FULs)

                                                           Medi

      Record
      Type        Data Element Name                      Start    End   Length   PIC Clause      Packed
      A           ACT Code                                 16      16        1        X

      A           TEC Code                                 52      53        2       X(2)

      A           NDC1                                     54      58        5       X(5)

      A           NDC2                                     60      63        4       X(4)

      A           NDC3                                     65      66        2       X(2)

      A           Unit Dose/Unit of Use Packaging Code     71      71        1        X

      A           Route of Administration                  72      73        2       X(2)

      ALL         Record Type                              13       3        3       X(3)

      E           Product Name                             17      76       60       X(60)

      G           Generic Product Identifier               17      30       14       X(14)

      J           Labeler Name                             17      36       20       X(20)

      L           Dosage Form                              40      43        4       X(4)

      L           Package Size                             44      51        8       9(8)

      L           Package Size Units                       52      53        2       X(2)

      P1-P6       Ingredient Metric Strength               27      37       11     9(8)V9(3)

      P1-P6       Strength Unit Measure                    38      48       11       X(11)

      P1-P6       Generic Ingredient Name                  49      88       40       X(40)

      R           Current AWP Unit Price                   24      32        9     9(4)v9(5)

      R           Current AWP Effective Date               33      38        6   9(6) (YYMMDD)

      R           Previous AWP Unit Price                  45      53        9     9(4)v9(5)

      R           Previous AWP Effective Date              54      59        6   9(6) (YYMMDD)

      S           Current Direct Price                     24      32        9     9(4)V9(5)

      S           Current Direct Price Effective Date      33      38        6   9(6) (YYMMDD)

      S           Previous Direct Price                    45      53        9     9(4)V9(5)

      S           Previous Direct Price Effective Date     54      59        6   9(6) (YYMMDD)




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Drug Compendia Fields Used in Federal Upper Limits (FULs)

                                                            Red

      Record
      Type        Data Element Name                      Start    End   Length    PIC Clause     Packed
      N/A         Deactivate Indicator                     27      27        1         X

      N/A         Deactivate Date                          28      35        8   9(8) CCYYMMDD

      N/A         Reactivate Indicator                     36      36        1         X

      N/A         Reactivate Date                          37      44        8   9(8) CCYYMMDD

      N/A         NDC1                                     69      73        5        X(5)

      N/A         NDC2                                     75      78        4        X(4)

      N/A         NDC3                                     80      81        2        X(2)

      N/A         Route Of Administration                 120     121        2        X(2)

      N/A         Product Name                            125     174       50       X(50)

      N/A         Form Code (Dosage)                      238     240        3        X(3)

      N/A         Strength                                261     285       25       X(25)

      N/A         Orange Book Code (TEC)                  286     287        2        X(2)

      N/A         Unit Dose Indicator                     291     291        1        X(1)

      N/A         Package Size                            293     297        5        X(5)

      N/A         Current WAC Unit Price                  399     407        9      9(4)V9(5)

      N/A         Current WAC Effective Date              408     415        8   9(8) CCYYMMDD

      N/A         Previous WAC Unit Price                 423     431        9      9(4)V9(5)

      N/A         Previous WAC Effective Date             432     437        8   9(8) CCYYMMDD

      N/A         Current AWP Unit Price                  480     488        9      9(4)V9(5)

      N/A         Current AWP Effective Date              489     495        8   9(8) CCYYMMDD

      N/A         Previous AWP Unit Price                 504     512        9      9(4)V9(5)

      N/A         Previous AWP Effective Date             513     520        8   9(8) CCYYMMDD

      N/A         Current Direct Price                    554     562        9      9(4)V9(5)

      N/A         Current Direct Price Effective Date     563     570        8   9(8) CCYYMMDD

      N/A         Previous Direct Price                   595     601        9      9(4)V9(5)

      N/A         Previous Direct Price Effective Date    611     618        8   9(8) CCYYMMDD




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